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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------------X
TABOOLA, INC.,

                             Plaintiff,

                   - against -                                                           ORDER

EZOIC INC., et al.,                                                                17 CV 9909 (PAE) (KNF)

                             Defendant.
------------------------------------------------------------------------X
KEVIN NATHANIEL FOX
UNITED STATES MAGISTRATE JUDGE

         The telephonic status conference scheduled previously for November16, 2020, will be held on

November 12, 2020, at 2:00 p.m. The parties shall use call-in number (888) 557-8511 and access code

4862532.



Dated: New York, New York                                            SO ORDERED:
       October 16, 2020
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